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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

ELIAS C. RHODES                                                                        PETITIONER

v.                                     No. 4:06CR00218 JLH

UNITED STATES OF AMERICA,
DEPARTMENT OF JUSTICE, and
BUREAU OF PRISONS                                                                   RESPONDENTS

                                              ORDER

       In April of 2009, Elias C. Rhodes pled guilty to conspiring to possess fifty grams or more of

crack cocaine in violation of 21 U.S.C. §§ 841(a)(1) and 846, and to possessing a firearm in

furtherance of a drug crime in violation of 18 U.S.C. §§ 2 and 924(c). He was sentenced to 180

months of imprisonment. In June of 2011, Rhodes filed a pro se motion captioned as a “Motion to

Challenge the Constitutionality of Title 18 USC (Public Law 80-772),” which the Court docketed

as a motion to vacate, set aside, or correct sentence under 28 U.S.C. § 2255. For the reasons set forth

below, Rhodes’s § 2255 motion is denied.

       Rhodes claims that Public Law 80-772, codified as Title 18 of the United States Code, “did

not ‘become a [L]aw’ ” “because a quorum was not present when the bill was voted on in the US

House of Representatives, [which] violat[ed] Article I, §5, Clause 1 and Article I, §7, Clauses 2 and

3,” and therefore rendered the enactment “unconstitutional and void ab initio.” He also contends that

there was a sine die recess between the votes of the House and Senate on the bill, also rendering its

passage invalid. Rhodes argues that he has been “illegally sentenced . . . under an unconstitutional

law” and that the “Bureau of Prisons further violate[s] [his] civil rights by continuing to hold [him]

as a prisoner without any merit.”
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        Rhodes’s claim joins a “rash of frivolous claims raised by prisoners across the country” that

concern the “supposed irregular adoption of Public Law 80-772” and “have been denied by every

court to address them.” Cardenas-Celestino v. United States, 552 F. Supp. 2d 962, 966 (W.D. Mo.

2008) (collecting cases). Courts have thoroughly debunked that Title 18 was improperly enacted and

is thus invalid. Id; see also U.S. Civil Serv. Comm’n v. Nat’l Ass’n of Letter Carriers AFL-CIO, 413

U.S. 548, 550 n.1, 93 S. Ct. 2880, 2883 n.1, 37 L. Ed. 2d 796 n.1 (1973) (Title 18 has “been enacted

into positive law.”); United States v. Collins, 510 F.3d 697, 698 (7th Cir. 2007) (argument that Title

18 is unconstitutional because of “supposed irregularities in its enactment” is “ ‘unbelievably

frivolous.’ ” (internal citation omitted)).

        Several courts have addressed, and rejected as meritless, the specific claim that a quorum was

not present when Congress voted on Public Law 80-772. See, e.g., Harris v. United States, No. 11

CV 0044, 2011 WL 1365554, at *2 (W.D. La. Mar. 28, 2011) (argument that Title 18 does not exist

because Congress did not have a quorum present for its vote is “unsupported,” “conclusory,” and

“absurd.”); United States v. Lewis, No. C 09-04300 SI, 2010 WL 3447702, at *2 (N.D. Cal. Aug.

30, 2010) (argument that Title 18 is invalid because its passage did not comply with the Quorum

Clause of the Constitution is “plainly frivolous and does not justify relief from [petitioner’s]

conviction and sentence”). Courts have also determined that the specific argument that there was a

sine die recess between the votes of the House and Senate is factually incorrect. See Cardenas-

Celestino, 552 F. Supp. 2d at 966-67 (collecting cases).

        Moreover, Rhodes’s section 2255 motion is untimely because his claim’s limitation’s period

has expired. Section 2255 provides a one-year period of limitation. In Rhodes’s case, the period

began running when the judgment of conviction became final, 28 U.S.C. § 2255(f)(1), which was


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on August 7, 2009.1 He therefore had until August 7, 2010 to file his § 2255 motion. And while

“equitable tolling is available to a § 2255 movant,” Byers v. United States, 561 F.3d 832, 836 (8th

Cir. 2009), it is “only appropriate in instances where extraordinary circumstances beyond a

petitioner’s control prevent timely filing.” E.J.R.E. v. United States, 453 F.3d 1094, 1098 (8th Cir.

2006) (citation omitted). Further, “[t]he petitioner must also demonstrate he acted with due diligence

in pursuing his petition.” Id. Here, there is no evidence that extraordinary circumstances beyond

Rhodes’s control prevented timely filing or that he acted with due diligence in pursuing his petition.

Thus, the section 2255 motion is barred by the statute of limitations.

       Rhodes’s motion to vacate, set aside, or correct his sentence under 28 U.S.C. § 2255 is

DENIED.

       IT IS SO ORDERED this 12th day of July, 2011.



                                                      ___________________________________
                                                      J. LEON HOLMES
                                                      UNITED STATES DISTRICT JUDGE




       1
        Because Rhodes never filed a notice of appeal, his judgment of conviction became final
ten days after July 24, 2009, when judgment was entered, excluding the first day of the period,
Saturdays, and Sundays. See Anjulo-Lopez v. United States, 541 F.3d 841, 816 n.2 (8th Cir.
2008).

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